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 UNITED STATES BANKRUPTCY COURT
 EASTERN DISTRICT OF NEW YORK
 -------------------------------------------------------X    CASE NO.: 19-42688(CEC)
 IN RE:
          RENEE BUTLER MASLIKHOV
          aka Renee Butler

                                     Debtor.                 CHAPTER 11

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               ORDER AUTHORIZING DEBTOR'S RETENTION OF
              URBAN COMPASS INC. AS REAL ESTATE BROKER

          Upon the application, dated July 9 September 14 (CEC), 2019 (the
 "Application"), of Renee Butler (CEC) Maslikhov, the debtor and debtor-in-
 possession (the "Debtor"), by its counsel, Dahiya Law Offices, LLC for an Order,
 pursuant to §327(a) of title 11 of the United States Code pursuant to of title 11 of
 the United States Code (the "Bankruptcy Code") and Rule 2014 of the Federal
 Rules of Bankruptcy Procedure (the "Bankruptcy Rules"), authorizing the Debtor's
 retention of Urban Compass Inc. (“Urban Compass”) as its exclusive real estate
 broker to market and sell the Debtor's premises located at 328 Jefferson Avenue,
 Brooklyn, New York 11216 ("Property"); and upon the Affidavit of Martin Keaton,
 sworn to on July 9, 2019 (the “Keaton Affidavit”) and the Court being satisfied that
 (i) the employment of Urban Compass is necessary and in the best interests of the
 estate, (ii) Urban Compass does not have or represent any interest adverse to the
 Debtor or the estate, and (iii) Urban Compass is a "disinterested person" as that
 term as defined in § 101 (14) of the Bankruptcy Code; and the Court having
 jurisdiction to consider the Application and the relief requested therein in
 accordance with U.S.C. §§ 157 and 1334; and consideration of the Application and
 the relief requested therein being a core proceeding pursuant to 28 U.S. C. § 157(b);
 and venue being proper before this Court pursuant to 28 U.S. C. § 148; and good
 and sufficient cause appearing for the relief sought by the Application; and after
 due deliberation thereon; it is
          ORDERED, pursuant to §327(a) of the Bankruptcy Code and Bankruptcy
 Rule 2014, the Debtor is hereby authorized to retain and employ Urban Compass

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 as its exclusive real estate broker for the sale of the Property upon the terms set
 forth in this order effective as of July 9, 2019; and it is further
         ORDERED that Urban Compass shall be paid a commission in the amount
 of six percent (6%) of the gross proceeds of the sale of the Property, inclusive of
 expenses, payable from the sale proceeds by the Debtor; and it is further
         ORDERED, in the event a co-broker sells the Property, Compass shall split
 the commission with the co-broker 3% to Urban Compass and 3 % to the co-broker;
 and it is further
         ORDERED, that in the event the Debtor enters into a contract for sale of
 the Property with a purchaser and receives a contract deposit, Urban Compass
 and/or any co-broker shall not receive any portion of the contract deposit for any
 reason without prior Court approval; and it is further
         ORDERED, that Urban Compass and/or any other than cooperating broker
 who finds the purchaser of the Property shall seek compensation upon application,
 notice and a hearing in accordance with the procedure set forth in §330 and §331
 of the Bankruptcy Code, the Federal Rules of Bankruptcy Procedure, the Local
 Bankruptcy Rules, and any orders issued by this Court; and it is further
         ORDERED, that Urban Compass shall not share its compensation with any
 other individuals or entities, other than any cooperating broker who finds the
 purchaser of the Property, and those agents and/or employees who are or were
 employed by Urban Compass that are entitled to wages and/or commission from
 the sale of the Property; and it is further
         ORDERED, that notwithstanding anything to the contrary contained herein,
 the United States Trustee shall retain the right to object to Urban Compass’s fees,
 commissions and expenses payable pursuant to the Agreement based on the
 reasonableness standard provided for in §330 of the Bankruptcy Code. The
 Bankruptcy Court shall retain the right to review any application of Urban Compass
 for professional compensation and reimbursement of expenses pursuant to the
 reasonableness standard of §330 of the Bankruptcy Code; and it is further
         ORDERED that the Court may retain jurisdiction to hear and determine all
 matters arising from the implementation of this Order; and it is further

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           ORDERED, that to the extent the Exclusive Right to Sell Agreement or
    the Application (CEC) is inconsistent with this Order, the terms of this Order
    shall govern.
    NO OBJECTION:
    WILLIAM K. HARRINGTON
    OFFICE OF THE UNITED STATES TRUSTEE, Region 2

    By:    /s/Rachel Wolf
           Rachel Wolf, Trial Attorney

    Dated: Brooklyn, New York
           September 14, 2019




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Dated: Brooklyn, New York                                         Carla E. Craig
       September 23, 2019                                 United States Bankruptcy Judge

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